                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                         LYNCHBURG DIVISION

LES CHRISTOPHER BURNS,                            )
                                                  )
                   Plaintiff,                     )     Case No. 6:18CV00073
                                                  )
v.                                                )      OPINION AND ORDER
                                                  )
CHRISTOPHER LEE COOK, ET AL.,                     )     By: James P. Jones
                                                  )     United States District Judge
                   Defendants.                    )

      M. Paul Valois, James River Legal Associates, Lynchburg, Virginia, for
Plaintiff; Jim H. Guynn, Jr., Guynn & Waddell, P.C., Salem, Virginia, for
Defendant Michael Brown.

        In this action for violation of civil rights under 42 U.S.C. § 1983, one of the

defendants, Michael Brown, Sheriff of Bedford County, Virginia, has moved to

dismiss the claims against him made in the plaintiff’s First Amended Complaint. I

will grant the motion.1

        The plaintiff, Les Christopher Burns, contends in his First Amended

Complaint that a deputy sheriff of Bedford County and a former assistant United

States Attorney conspired to violate his civil rights by manufacturing false




        1
            The Motion to Dismiss by Defendant Michael Brown was filed and served
electronically on September 5, 2018. No responsive brief to the motion has been filed by
the plaintiff, although it was due under the court’s Local Rules no later than September
19, 2018. W.D. Va. Civ. R. 3(c)(1). No request for extension of time has been made.




     Case 6:18-cv-00073-JPJ Document 18 Filed 10/11/18 Page 1 of 7 Pageid#: 88
evidence against him in a federal criminal prosecution. 2 As to Sheriff Brown, he is

sued in his official capacity and charged in Count Five with maintaining a policy

or custom of (1) permitting his officers to engage in misconduct that violated the

civil rights of targets of criminal investigations and (2) failing to discipline such

employees. Compensatory damages are sought against Sheriff Brown, as well as

prospective injunctive relief.

                                            I.

      As contended by Sheriff Brown, I find that the Eleventh Amendment to the

Constitution bars Burns’ suit for monetary relief against him in his official

capacity. 3 The Eleventh Amendment provides that “[t]he judicial power of the

United States shall not be construed to extend to any suit in law or equity,

commenced or prosecuted against one of the United States by Citizens of another

State.” U.S. Const. amend. XI. “The Supreme Court ‘has drawn on principles of

sovereign immunity to construe the Amendment to establish that an unconsenting

      2
           Misconduct by the prosecution was the subject of an opinion of this court
granting a new trial to Burns. United States v. Burns, 6:13-cr-00022, 2016 WL 3910273
(W.D. Va. July 14, 2016) (Moon, J.). The prosecution against Burns was later dismissed
at the request of the government.
      3
           In his Motion to Dismiss asserting Eleventh Amendment immunity, Sheriff
Brown relies upon Federal Rule of Civil Procedure 12(b)(6) (failure to state a claim),
rather than Rule 12(b)(1) (lack of subject-matter jurisdiction). The Fourth Circuit’s
precedent is unclear “on whether a dismissal on Eleventh Amendment immunity grounds
is a dismissal for failure to state a claim under Rule 12(b)(6) or a dismissal for lack of
subject matter jurisdiction under Rule 12(b)(1).” Andrews v. Daw, 201 F.3d 521, 524 n.2
(4th Cir. 2000). Accordingly, I find that Sheriff Brown’s reliance on Rule 12(b)(6) is of
no moment in determining his present motion.
                                           -2-

  Case 6:18-cv-00073-JPJ Document 18 Filed 10/11/18 Page 2 of 7 Pageid#: 89
State is immune from suits brought in federal courts by her own citizens as well as

by citizens of another State.’” Lee–Thomas v. Prince George’s Cty. Pub. Sch., 666

F.3d 244, 248 (4th Cir. 2012) (quoting Port Auth. Trans–Hudson Corp. v. Feeney,

495 U.S. 299, 304 (1990)). The Court has also held that Eleventh Amendment

immunity extends to “state agents and state instrumentalities.” Regents of the Univ.

of Cal. v. Doe, 519 U.S. 425, 429 (1997). In Virginia an action against a sheriff in

his official capacity has been held to be an action against the state for the purpose

of this immunity. Bland v. Roberts, 730 F.3d 368, 391, 394 (4th Cir. 2013). 4

      Burns’ action also seeks injunctive relief against Sheriff Brown, namely that

he be enjoined from allowing misconduct by his employees and that he be required

to train his employees “to act in a manner consistent with law in the handling of

evidence and witnesses” and to create “a disciplinary policy that is consistent with

law.” First Am. Compl. ¶¶ 87, 88, 89, ECF No. 4.

      The Supreme Court long ago recognized a limited exception to Eleventh

Amendment immunity in Ex Parte Young, 209 U.S. 123 (1908).                  Under this

doctrine, a state official may be sued in his official capacity for injunctive relief;

however, this exception to Eleventh Amendment immunity permits only



      4
           Although not expressly asserted by Sheriff Brown, in addition to possible
Eleventh Amendment immunity, state officials sued in their official capacity for
monetary relief are not “persons” subject to suit within the meaning of § 1983. See Will
v. Mich. Dep’t of State Police, 491 U.S. 58, 71 & 71 n.10 (1989).
                                          -3-

  Case 6:18-cv-00073-JPJ Document 18 Filed 10/11/18 Page 3 of 7 Pageid#: 90
prospective, not retrospective, relief. Antrican v. Odom, 290 F.3d 178, 186 (4th

Cir. 2002).

                                             II.

       While Burns may not be barred from seeking prospective injunctive relief in

this case, he has failed to adequately plead facts necessary to support such a claim. 5

       Federal pleading standards require that a complaint contain a “short and

plain statement of the claim showing that the pleader is entitled to relief.” Fed. R.

Civ. P. 8(a)(2). In order to survive a motion to dismiss, the complaint must “state[

] a plausible claim for relief” that “permit[s] the court to infer more than the mere

possibility of misconduct” based upon its “judicial experience and common sense.”

Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). In evaluating a pleading, the court

accepts as true all well-pled facts and construes those facts in the light most

favorable to the plaintiff. Nemet Chevrolet, Ltd. v. Consumeraffairs.com, Inc., 591

F.3d 250, 255 (4th Cir. 2009). However, “the tenet that a court must accept as true


       5
           State officials sued for damages in their personal capacities are “persons” under
§ 1983 and have no Eleventh Amendment immunity, even when the claim is based upon
the carrying out of official duties. Hafer v. Melo, 502 U.S. 21, 28, 30 (1991). Even had
Burns sued Sheriff Brown in his individual capacity, rather than in his official capacity,
and thus escaped the bar of the Eleventh Amendment and § 1983, he has failed in his
First Amended Complaint to state a supervisory liability claim upon which monetary
relief can be granted, in that he has not alleged sufficient facts showing that Sheriff
Brown exhibited deliberate indifference in supervising his subordinates, causing the
deprivation of Burns’ federal rights. See Slakan v. Porter, 737 F.2d 368, 373 (4th Cir.
1984) (“A supervisor’s continued inaction in the face of documented widespread
abuses . . . provides an independent basis for finding he either was deliberately indifferent
or acquiesced in the constitutionally offensive conduct of his subordinates.”).
                                             -4-

  Case 6:18-cv-00073-JPJ Document 18 Filed 10/11/18 Page 4 of 7 Pageid#: 91
all of the allegations contained in a complaint is inapplicable to legal conclusions.”

Iqbal, 556 U.S. at 678. “While legal conclusions can provide the framework of a

complaint, they must be supported by factual allegations.” Id. at 679. A complaint

does not need detailed factual allegations to survive a motion to dismiss; however,

it must have more than labels and conclusions or a recitation of the elements of the

cause of action. Bell Atl. Corp. v. Twombly, 550 U.S. 554, 555 (2007).

      The only specific factual allegations made against Sheriff Brown (other than

his status as sheriff and policymaker for the sheriff’s department), are that he

employed the codefendant deputy sheriff, First Am. Compl. ¶ 14, ECF No. 4, and

that in a separate matter he briefly suspended the deputy sheriff and then

reassigned him as a school resource officer, id. at ¶ 54.

      Respondeat superior may not serve as a basis for imposing liability under §

1983. Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 694 (1978). Rather, in order

to obtain relief under a “policy or custom” theory, as alleged here against Sheriff

Brown,

       [a] plaintiff must point to a persistent and widespread practice of
                                       “


      municipal officials, the duration and frequency of which indicate that
      policymakers (1) had actual or constructive knowledge of the conduct,
      and (2) failed to correct it due to their deliberate indifference. Both
      knowledge and indifference can be inferred from the extent of
      employees’ misconduct. Sporadic or isolated violations of rights will
      not give rise to Monell liability; only widespread or flagrant violations
      will.



                                           -5-

  Case 6:18-cv-00073-JPJ Document 18 Filed 10/11/18 Page 5 of 7 Pageid#: 92
Owens v. Balt. City State Attorneys Office, 767 F.3d 379, 402-03 (4th Cir. 2014)

(internal quotation marks, alteration, and citations omitted). More specifically, the

Supreme Court held that §1983 liability based upon failure to adequately train

assistant district attorneys about their due process Brady obligations could not be

shown unless the plaintiff showed a pattern of Brady violations.         Connick v.

Thompson, 563 U.S. 51, 62 (2011) (“Without notice that a course of training is

deficient in a particular respect, decisionmakers can hardly be said to have

deliberately chosen a training program that will cause violations of constitutional

rights.”).

       The same principles apply to the alleged policy or custom of failing to

discipline an employee.      A plaintiff must show a pattern of constitutionally

offensive conduct, for which the supervisor knew or should have known, yet failed

to take corrective action, and not simply a single instance. Santiago v. Fenton, 891

F.2d 373, 382 (1st Cir. 1989).

       In summary, Burns has alleged no facts showing a pattern or practice of the

alleged custom or policy, but simply bare conclusions, which do not support a

plausible claim for the injunctive relief sought.




                                          -6-

  Case 6:18-cv-00073-JPJ Document 18 Filed 10/11/18 Page 6 of 7 Pageid#: 93
                                    III.

     For the foregoing reasons, it is ORDERED that the Motion to Dismiss of

Defendant Michael Brown, ECF No. 13, is GRANTED and the claims against said

defendant are DISMISSED.


                                           ENTER: October 11, 2018

                                           /s/ James P. Jones
                                           United States District Judge




                                    -7-

 Case 6:18-cv-00073-JPJ Document 18 Filed 10/11/18 Page 7 of 7 Pageid#: 94
